945 F.2d 405
    138 L.R.R.M. (BNA) 2432
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.NATIONAL LABOR RELATIONS BOARD, Petitioner,v.The TROXEL COMPANY, Respondent.
    No. 91-5335.
    United States Court of Appeals, Sixth Circuit.
    Sept. 24, 1991.
    
      1
      Before RYAN, Circuit Judge, WELLFORD, Senior Circuit Judge, and HIGGINS, District Judge*.
    
    CONSENT JUDGMENT
    
      2
      The National Labor Relations Board, having on March 15, 1991, applied to this Court for enforcement of its order issued on January 23, 1991, against the Respondent, The Troxel Company, Moscow, Tennessee, its officers, agents, successors, and assigns, and on April 25, 1991, having filed with this Court a certified list constituting the full transcript of the entire record of the proceeding had before the Board in this matter and known upon its records as Case Nos. 26-CA-12325, 26-CA-12396, 26-CA-12535, 26-CA-12562, 26-CA-12567, 26-CA-12577, 26-CA-12621, 26-CA-12746, 26-CA-12827, 26-CA-12831, 26-CA-12950, 26-CA-12954, 26-CA-13027, 26-CA-13098, and 26-CA-13198-1;  and the Respondent and the Board having advised this Court of their desire to dispose of this matter by entry of a judgment enforcing the Board's order;
    
    
      3
      IT IS HEREBY ORDERED AND ADJUDGED by the Court that the said order of the Board be and the same is hereby enforced;  and that the Respondent, The Troxel Company, Moscow, Tennessee, its officers, agents, successors, and assigns, abide by and perform the directions of the Board in said order contained.
    
    
      4
      Mandate shall issue forthwith.
    
    
      
        *
         The Honorable Thomas A. Higgins, U.S. District Judge for the Middle District of Tennessee, sitting by designation
      
    
    